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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                         Criminal No. 18-286 (ADM/DTS)

 UNITED STATES OF AMERICA,                 )
                                           )
                      Plaintiff,           )
                                           )
         v.                                )
                                               GOVERNMENT’S MOTION
                                           )
                                               FOR DISIMSSAL
 SHERI MARIE LEMMA,                        )
     a/k/a Sheri Marie Cindrich,           )
                                           )
                      Defendant.


         Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, the United

States Attorney for the District of Minnesota hereby moves the Court to dismiss the

pending criminal charges, namely, the Indictment (Dkt. 1) and Superseding

Indictment (Dkt. 52) against defendant Sheri Lemma a/k/a Sheri Cindrich, without

prejudice, in the interests of justice. Fed. R. Crim. P. Rule 48(a) provides:

         The government may, with leave of court, dismiss an indictment
         information, or complaint. The government may not dismiss the
         prosecution during trial without the defendant’s consent.

Dismissal with leave of court pursuant to Rule 48(a) is considered to be without

prejudice and therefore, does not bar subsequent prosecution for criminal acts

described in the indictment. DeMarrias v. United States, 487 F.2d 19, 21 (8th Cir.

1973).

         As the Court is aware, this matter is scheduled for trial beginning February

18, 2020. In the course of preparing for trial, the government has very recently

acquired new and additional information that bears on its decision to prosecute this
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case.    Based upon its recent receipt of this information, the government has

determined that the interests of justice now require a dismissal of the pending

charges, pursuant to Rule 48(a).

        The government has conferred with counsel for the defendant, who advises the

defendant has no objection.

                                              Respectfully Submitted,

Dated: February 11, 2020                      ERICA H. MacDONALD
                                              United States Attorney


                                              s/ Lindsey E. Middlecamp

                                              BY: LINDSEY E. MIDDLECAMP
                                              Special Assistant U.S. Attorney

                                              BY: MATTHEW S. EBERT
                                              Assistant U.S. Attorney




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